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 1    BARRY ROSEN
 2    136 S. Clark Dr. #5
      Los Angeles, CA 90048                                      ___ ._~
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      Tel:(323)653-2043                                      s    ~_~~'~-~_'
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      In Pro Per                                             ~    ~    ~a~
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 6
                            UNITED STATES DISTRI                                   _.~~ ,

 s                        CENTRAL DISTRICT OF CALIFORNIA
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                   BARRY ROSEN,                     Case No. 17-CV-07727-~-JEMx
l0    Individually and as a Private Attorney
~i    General
                   Petitioner and Plaintiff,        PLAINTIFF'S NOTICE OF
~2
                                                    RELATED CASES
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14
      UNITED STATES GOVERNMENT,
IS    FEDERAL AVIATION
      ADMINISTRATION, AND CITY OF                   [Central Dist. L.R. 83-1.3]
16
      SANTA MONICA,
17                Respondents and
18    Defendants.

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      To the Honorable Court, all Parties, and their Attorneys of Record:
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22          Pursuant to Central District Local Rule 83-1.3, Plaintiff Barry Rosen
23   ("Rosen")files this Notice of Related Cases.
24          This case should be related to City ofSanta Monica v. United States
25
      Government Federal Aviation Administration, et al., Case No. CV 13-8046- JFW
26
     (VBKx)because it "arise[s] from the same, or a closely related transaction,
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     i happening or event." L.R. 83-1.3.1. Specifically, this Action arises from the fact
as
                              PLAINITFF'S NOTICE OF RELATED CASES

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     i    that Defendant City of Santa Monica("CSM")improperly sued the US Federal
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          Aviation Administration("FAA"), which was completely the wrong agency for the
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          relief being sought in the first instance (Complaint ¶¶22-24) as the FAA is neither
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         the successor to the War Assets Administration, nor was it ever given any statutory
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         authority by Congress under the United States Code ("U.S.C.") for the actions it
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         has now taken. Even if the FAA was the correct agency (which it was not), the
         resulting Settlement Agreement/Consent Decree is/was invalid ab initio because
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         the FAA both overstepped its authority and/or violated its obligations under the
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         Administrative Procedure Act("APA")5 U.S.C. § 702 et seq (Complaint ¶¶30-34,
~o
         39-46). Furthermore, it is abundantly clear that any release of lands pursuant to the
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         Settlement Agreement/Consent Decree could not have taken place because there is
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         no consideration whatsoever within the Settlement Agreement/Consent Decree for

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         a required payment of the fees for such release of lands(Complaint ¶17, 33-34).

15             Plaintiff also now believes that the court should now act Sua Sponte and
16       fully vacatur Case No. CV 13-8046- JFW (VBKx)in its entirety for the reasons
i~ , given above and/or in the Petition/Complaint.
18              Accordingly, the two actions are related under the Central District Local
19       Rules because the instant action calls for "determination of the same or
Zo       substantially related or similar questions of law" as that presented in the related
zl       case and both matters involve "the same parties(who are now defendants in this
22       action) and same issues." C.D. Cal. L. R. 83-1.3.1(b),(d).
23
         ~ Dated: November 9, 2017
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                                                       By: /f`           _ ~~
26                                                     Bat Rosen, In Propria Persona
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                                  PLAINITFF'S NOTICE OF RELATED CASES

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